 

CaS;

LDOO\]O§CJ`ll-P-C»Ol\:|b-l.

+-*»-#s-r-r-v
l-PODL\DI-*O

22p4-CV:Q1§32-AHM-R|¥ DOCUmer~T[ 115 Filed 03/15/07 696 l Of 5 que |D|#244

ELIZABETH P. BEAZLEY, CASB No. 138198
elizabeth.beazley@kyl.com
DIANA J. COBURN, CASB No. 216334

diana.coburn@kyl.com
CAROL A. DWYER, CASB No. 239769

carol.dwyer@kyl.com D ‘;:j
KEESAL, YOUNG & LOGAN
BY ORDER OF -\

~H_¢./'

.-“=.F~:"*"'

 

A Professional Corporation

400 Oceangate, P.O. Box 1730
Long Beach, California 90801-17 30 /rweamw-WDGE
Telephone: (562) 436-2000 ON 1 \5 0\:\` §
Facsimile: (562) 436-7416

ROBERT E. SHANNON, CASB No.»43691
CITY OF LONG BEACH

333 West Ocean Blvd., llth Floor

Long Beach, California 90802

Telephone: (562) 570-2200
Facsimi]e: (562) 436-1579

Attorneys for Defendant

CITY OF LONG BEACH, a municipal corporation,

acting and through its Board of Harbor Commissioners
Sued as THE PORT OF LONG BEACH,

,LONG BEACH HARBOR DEPARTMENT and
HARBOR COMMISSIONERS)

 

 

 

     
   
  

"TED STATES DISTRICT coURT
CENTRAL DISTRICT 0F cALIFoRNlA
WESTERN I)IVISION

CaSe No. CV-04-1832 AHM (RNBX)

       
      
    
 
  

CALIFORNIA ex rel CALIFORNIA [PROPOSED] JUDGMZENT
STATE LANDS COMMISSION ex

rel., COUNTY OF LOS ANGELES _ _

ex rel., STANLEY D. MOSLER, en P"O"‘>' m

CL
Send t ER‘K..L.J S.,DiSTR|CT COUF|T

Enter
Closed ___
JS-S/JS-G _._.
JS-Z/JS-3 __.
Scan Only_,.... BY

F men GN cm '

individua],
Plaintiffs,
Vs.

CITY OF LONG BEACH, a
municipal corporation; CITY OF

  

~_r\_r\_r\_/\_/\_rvvv\_¢\_z\_¢\_/\_/\_/\/

 

 

 

 

lb .
MAR \92007 E)

BY mF-_ 004 KYb_LB1087924

 

l
*_i
._ \

 

 

 

Case 2:04;-cv-_Qi_832-AHI\/|-R$ Documerat 115 Filed 03/15/07 ige 2 of 5 P'age |[).,#:45

LONG BEACH HARBOR )
DEPARTMENT; PORT OF LONG ) 1|
BEACH; LONG BEACH BOARD OF: gng
HARBOR COMMISSIONERS; -j§`§
UNION PACIFIC CORPORATION; ) §§
UNION PACIFIC RAILROAD )
COMPANY; UNION PACIFIC )
ENERGY COMPANY; UNION )
PACIFIC LAND RESOURCES §
CORPORATION; UNION PACIFIC )
RESOURCES COMPANY, aka )
UNION PACIFIC RESOURCES )
GROUP INCORPORATED, aka )
RME HOLDING COMPANY, )
ANADARKO PETROLEUM §
CORPORATION; JOHN )
CALHOUN, an individual; and )
ROBERT SHANNON, an individual,)

)

)

)

Defendants.

'cooo-qc>cnq=~coi\:)s-¢»

i-l»-li-*
EO|-*C

 

r-¢+-*»-\i-‘
cnme

Defendant CITY OF LONG BEACH, a municipal corporation,
acting by and through its Board of Harbor Commissioners (erroneously sued
as THE PORT OF LONG BEACH, THE CITY OF LONG BEACH HARBOR
DEPARTMENT and THE BOARD OF HARBOR COMMISSIONERS) l
(hereinafter “COLB”) filed a Motion to Disqualify Relator and Dismiss the
First Ainended Complaint (“Motion”). Defendants Anadarko Petroleum
Company (“Anadarko”), Union Pacific Energy Company (“UPEC”), Union

recommwa
wch<ooo-q

Pacific Land Resources Corporation (“UPLR”), Union Pacific Resources
Company (“UPR”) filed Joinders to the Motion. (COLB, Anadarko, UPEC,
UPLR, and UPR hereinafter “Defendants”). Relator Stanley D. Mosler
opposed the Motion. The United States of America declined to intervene

1\‘.)|.\3[\'.)[\'>|_\9
OO°QC'>CJ'll-Fd

///

 

 

- 2 - - KYLWLBios7924

 

 

Cas

§OOO-`IO§CJ`|PCJLJ|>D|-*".~

t\Dl\DNdN>l\$L\DN>l\Dl\Di-*l-¢i-lr-l»-*|-¢»-»HHH
OO-\`lOdUFP~C,ON+-\O§OOO`IO§U»Pwl\Di-l©

kL)

 

 

2204-CV-}Q1832-AH|\/|-Rw DOCUmth 115 Filed 03/15/07 699 3_01c 5 P_age |D #246

' By its Order of March 7, 2007, the Court granted the Motion and dismissed

the First Amended Complaint.
IT IS HEREBY ORDERED AND ADJUDGED that:

1. Relator STANLEY D. MOSLER take nothing by Way of the
First Amended Complaint;

2. Defendants are awarded costs from Relator STANLEY D.
MOSLER; and,

3. Judgment is entered in favor of the Defendants.

l':l
l_l“il
._§.“

   

 

 

DATED:
HONORABLE A. HOWARD MATZ
UNITED STATES DISTRICT COURT
JUDGE

SUBMITTED BY:

%xxeee%éxxy§\

EHZABETH P. BEAZLEY U
DIANA J. coBURN

cARoL A. DWYER

KEESAL, YoUNG & LoGAN

ROBERT E. SHANNON
CITY OF LONG BEACH

Attorneys for Defendant

CITY OF LONG BEACH, a municipal corporation,

acting by and through its Board of Harbor Commissioners
(erroneously sued as THE PORT OF LONG BEACH,

THE CITY OF LONG BEACH HARBOR DEPARTMENT and
THE BOARD OF HARBOR COMMISSIONERS)

- 3 - ' KYL~L31037924

 

 

F‘b

Case 2: 04- -c\/- 01832- AHI\/|- -R$ Document 115 Filed 03/15/07 iga 4 of 5 Rage |D #:47

@CIJ--IO¥O`|»¥§C)O[\’.))-*

MMNML\DNL\SNN»-*r-‘P-¢w»-lz-lr-\»-¢+-r»-
OO-]CDU\'F=~CDl\Db-*O€.O®-JC`>U¥PWL\Ul-\C>

 

PRooF or sERvioE {-_.§

Meeier v. city ef Long Beeeh, cvo4-01832 AHM (RNB) '§§

USDC Central, Judge A. Howard Matz, 213-894-5283 `i!§§

i’;J

srArE oF oALIFoRNIA, COUNTY oF Los ANGELES

l am employed in the County of Los Angeles, State of California. l am over the
age of 18 and not a party to the within action; my business address is Keesal, Young &
Logan, 400 Oceangate, P.O. BoX 1730, Long Beach, California, 90801-1730.

On March 14, 2007, I served the foregoing documents described as Proposed
Judgment on the parties in this action by placing a true copy thereof enclosed in a
sealed envelope or package addressed as follows:

SEE ATTACHED LIST

BY U.S. MAIL: l deposited such envelope(s) in the mail at Long Beach,
California. I'placed the envelope for collection and mailing, following our ordinary
business practices I am readily familiar with this business’s practice for collecting and
processing correspondence for mailing. On the same day that correspondence is placed
for collection and mailing, it is deposited in the ordinary course of business with the
United States Postal Service, in a sealed envelope with postage fully prepaid.

Executed on March 14, 2007 at Long Beach, California.

I declare under penalty of perjury under the laws of the State of California and
the United States of America that the foregoing is true and correct.

I declare that l am employed in the office of a member of the bar of this Court at
whose direction the service was made.

©MM.WDO\€&

Debbie Klesges

 

 

 

Cas

CDOO-]G§O`IPCD[\'.)|'-\

N>N>'L\:JL\'>N>MN[\DN»-*b-+-di-‘r-l-¢l-ll-*Mb-*
Oo-ZIO`JO`I»PCDNI-*O<.DOO-JO`:U»PC)DL~QI-*O

 

 

, C

PR()OF OF SERVICE

Mosler v. City of Long Beach, CV04-01832 AHM (RNB)
USDC Central, Judge A. Howard Matz, 213-894-5283

Stanley D. Mosler
29457 Indian Valley Road., Unit D
Rancho Palos Verdes, CA 90275

Ph: 310~544-1629; Cell: 310-351-4155

seslt@cox.net
In pro se

1

J ames Dragna/Leigh Curran
Bingham McCutchen LLP

355 S. Grand Ave., #4400

Los Angeles, CA 90071-3106

Ph: 213-680~6436 FX: 213-680-6499
Jim.dragna@bingham.com
Leigh.curran@bingham.com

Attys for Anadrako Petroleum

John R. Shiner

Holme Roberts & Owen LLP
777 S. Figueroa St., Suite 2800
Los Angeles, CA 90017

Ph: 213-572-4300

FX: 213-572-4400
John.shiner@hro.com

Attys for Union Pacific

David A. Ringnell

AUSA - Oiiice of U.S. Attorney

Civil Division

300 N. Los Angeles St., Ste 7516

Los Angeles, CA 90012

Ph: 213-894-3994

Email: usacac.civil@usdoj.gov

Attys for Plaintiff California State Lands
Commission \

David S. Steefel

Holme Roberts & Owen LLP

1700 Lincoln, Suite 4100

Denver, CO 80203

Ph: 303-861-7000; Direct 303-866-0348
Fax: 303-866-0200
David.steefel@hro.com

Attys for Union Pacific

3 2:O4-cV-01832-AHM-RW Document 115 Filed 03/15/07 iga 5 of 5 Page ![)_ #:48

 

